     Case 4:22-cv-00343-Y Document 83 Filed 04/03/23                Page 1 of 4 PageID 1837


                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

ROBERT (BOB) ROSS,                             §
                                               §
     Plaintiff/Counterclaim Defendant,         §
                                               §
v.                                             §
                                               §
ASSOCIATION OF PROFESSIONAL                    §       Civil Action No. 4:22-cv-00343-Y
FLIGHT ATTENDANTS,                             §
MCGAUGHEY, REBER AND                           §
ASSOCIATES, INC., JULIE                        §
HEDRICK, AND ERIK HARRIS,                      §
                                               §
     Defendants/Counterclaim Plaintiff.        §


              UNION DEFENDANTS’ REPORT TO THE COURT REGARDING
                     THE PARTIES’ SETTLEMENT CONFERENCE

          In accordance with the Court’s Initial Scheduling Order (Doc. 77) the parties participated

in a formal settlement conference at which the parties and their counsel appeared in person to

discuss settlement of this case. Defendant Counterclaim Plaintiff Association of Professional

Flight Attendants (“APFA”), and Defendants Julie Hedrick and Erik Harris (collectively, “Union

Defendants”) file this written report in accordance therewith:

(a) The date on which the settlement conference was held:
          The conference was held on March 27, 2023 in conference rooms reserved at the offices
of Caddo Office Reimagined, 2201 Spinks Rd., Flower Mound, Texas 75022. The conference
lasted for approximately two hours and thirty minutes.


(b) The persons present at the conference:
          On behalf of Plaintiff Counterclaim Defendant Robert (“Bob”) Ross:
                 1. Robert (“Bob”) Ross;

                 2. Kerri Phillips, K.D. Phillips Law Firm, PLLC, participated as counsel for
                 Robert (“Bob”) Ross.


                                                   1
  Case 4:22-cv-00343-Y Document 83 Filed 04/03/23                  Page 2 of 4 PageID 1838


       On behalf of the Union Defendants:
               1. Julie Hedrick, APFA National President;
               2. Erik Harris, APFA National Treasurer;
               3. APFA participated through APFA Staff Attorney Charlette Matts, APFA
               National President Julie Hedrick and APFA National Treasurer Erik Harris, who
               each had authority to bargain in good faith on behalf of Defendant APFA; and
               4. Sanford R. Denison, Baab & Denison, LLP, participated as counsel for the
               Union Defendants.
       On behalf of Defendant McGaughey, Reber and Associates, Inc., d/b/a Diversified Credit
       Systems:
               1. McGaughey, Reber and Associates, Inc. participated through Michael
               McGaughey, its president; and
               2. Michael R Rake, Michael R. Rake, Attorney at Law, participated as counsel
               for McGaughey, Reber and Associates, Inc.


(c) A statement regarding whether meaningful progress toward settlement was made:

   During the conference the parties and their counsel discussed various options which might

serve as a framework within which to craft a resolution of this case as between Plaintiff and

APFA; however ; however, despite the individual defendants’ improper joinder as parties, no

separate proposal for their dismissal apart from APFA was received from Plaintiff

   Despite the parties’ efforts to explore different settlement alternatives, the parties remain far

apart with respect to settlement terms which would be acceptable to all parties and, from the

Union Defendants’ perspective, feasible as not requiring actions which violate APFA’s

Constitution, applicable law or the rights of APFA’s other members.

       While the parties and counsel were able to engage in a constructive discussion of their

respective positions and views as to the terms of an acceptable and feasible resolution of this

case, the parties were not able to make meaningful progress towards a settlement.




                                                 2
  Case 4:22-cv-00343-Y Document 83 Filed 04/03/23                 Page 3 of 4 PageID 1839


(d) A statement regarding the prospects of settlement before trial.

       The Union Defendants have been and remain open to continuing to explore with Ross

options for an agreed resolution of this case which is consistent with and does not run afoul of

applicable law, the APFA’s Constitution or the rights of its other members. However, as of this

date, because the parties remain far apart with respect to settlement terms which are acceptable to

all parties and which are feasible as consistent with APFA’s obligations under law and its

Constitution, the Union Defendants do not believe that the prospects for settlement prior to trial

are good.

Date: April 3, 2023                           Respectfully Submitted,


                                               /s/ Sanford R. Denison
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                                              Counsel for Defendant Counterclaim Plaintiff
                                              Association of Professional Flight Attendants, and
                                              Defendants Julie Hedrick and Erik Harris

                                              *Admitted Pro Hac Vice




                                                 3
  Case 4:22-cv-00343-Y Document 83 Filed 04/03/23               Page 4 of 4 PageID 1840




                               CERTIFICATE OF SERVICE

       I certify that on this 3rd day of April 2023 a true and correct copy of the foregoing

document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant

Ross by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

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                                             /s/ Sanford R. Denison
                                            SANFORD R. DENISON




                                               4
